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EXHIBIT B-2
F.V. vs. Jeppesen, et al., Case No. 1:17-cv-000170-CWD



Summary of Plaintiffs’ counsels’ hours and rates for Plaintiffs’ fee petition (requested fees-on-fees)



     Attorney                              Hours                 Rate - 2021         Total Fee

     Peter Renn                            77                    $675                $51,975.00

                         (thru 8/31/21)    26.8                  $350                $9,380.00
     Nora Huppert
                         (after 9/1/21)    42.4                  $270                $11,448.00

     Kara Ingelhart                        14.9                  $330                $4,917.00

     Monica Cockerville                    3.8                   $410                $1,558.00

     Colleen Smith                         24.9                  $250                $6,225.00

     Jamie Farnsworth, Paralegal           7.5                   $175                $1,312.50

                                   Total: 197.3                                      $86,815.50




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1
    Messrs. Lanosa and Belfer did not bill time on Plaintiffs’ fee petition.
